                                                              Judge: Timothy W. Dore
                                                              Chapter: 13
    1                                                         Hearing Date: May 17, 2017
                                                              Hearing Time: 9:30 am
    2                                                         Hearing Location: U.S. Bankruptcy Court
                                                                                700 Stewart St #8106
    3                                                                           Seattle,WA 98101
                                                              Response Date: May 10, 2017
    4
                                IN THE UNITED STATES BANKRUPTCY COURT
    5
                          FOR THE WESTERN DISTRICT OF WASHINGTON AT SEATTLE
    6
         In Re:                                               IN CHAPTER 13 PROCEEDING
    7                                                         NO. 14-12003
         TOM S HYDE,
    8                                                         NOTICE OF TRUSTEE'S MOTION TO DISMISS
                                                              CASE AND HEARING
    9                                   Debtor.

    10
             PLEASE TAKE NOTICE that the Chapter 13 Trustee's Motion to Dismiss Case IS SET FOR HEARING as
    11
         follows:
    12
                            Judge: Timothy W. Dore
    13
                            Place: U.S. Bankruptcy Court
    14                              700 Stewart St #8106
                                    Seattle,WA 98101
    15
                            Date: May 17, 2017
    16
                            Time: 9:30 am
    17
         IF YOU OPPOSE the motion, you must file your written response with the Court Clerk NOT LATER THAN THE
    18

    19   RESPONSE DATE, which is May 10, 2017.

    20
             IF NO RESPONSE IS TIMELY FILED, the Court may, in its discretion, GRANT THE MOTION PRIOR TO
    21
         THE HEARING WITHOUT FURTHER NOTICE, and strike the hearing.
    22

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    24
                            Date: April 03, 2017
    25
                                                                          /s/K. Michael Fitzgerald
    26                                                                    K. Michael Fitzgerald, WSBA# 8115
                                                                          Chapter 13 Trustee
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                                                                               Chapter 13 Bankruptcy Trustee
CM160     NOTICE OF TRUSTEE'S MOTION TO DISMISS CASE                             600 University St. #2200
jwa       AND HEARING                                                               Seattle,WA 98101
                                                                                     (206) 624-5124
                  Case 14-12003-TWD    Doc 42      Filed 04/03/17   Ent. 04/03/17 07:59:43 Pg. 1 of 3
                                                                   Judge: Timothy W. Dore
                                                                   Chapter: 13
    1                                                              Hearing Date: May 17, 2017
                                                                   Hearing Time: 9:30 am
    2                                                              Hearing Location: U.S. Bankruptcy Court
                                                                                     700 Stewart St #8106
    3                                                                                Seattle,WA 98101
                                                                   Response Date: May 10, 2017
    4
                                  IN THE UNITED STATES BANKRUPTCY COURT
    5
                            FOR THE WESTERN DISTRICT OF WASHINGTON AT SEATTLE
    6
         In Re:                                                    IN CHAPTER 13 PROCEEDING
    7                                                              NO. 14-12003
         TOM S HYDE,
    8                                                              TRUSTEE'S MOTION TO DISMISS CASE

    9                                       Debtor.

    10      The Trustee moves to dismiss this case pursuant to 11 U.S.C. § 1307(c):
    11
            The debtor filed a plan on August 13, 2014 (ECF No. 20).
    12
            The debtor’s confirmed plan provides for monthly plan payments of $1,040.00 (ECF No. 20). Through March
    13

    14
         2017, the debtor is $9,130.00 delinquent on his plan payments with another $1,400.00 plan payment due in April

    15   2017. The Trustee has not received a plan payment from the debtor since January 30, 2017. The debtor’s case
    16
         should be dismissed for material default with respect to his confirmed plan. 11 USC § 1307(c).
    17

    18      THE TRUSTEE REQUESTS that the Court dismiss this case.
    19
                               Dated: April 03, 2017
    20
                                                                              /s/ K. Michael Fitzgerald
                                                                              K. Michael Fitzgerald, WSBA #8115
    21                                                                        Chapter 13 Trustee
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                                                                                    Chapter 13 Bankruptcy Trustee
CM160     TRUSTEE'S MOTION TO DISMISS CASE - 1                                        600 University St. #2200
jwa                                                                                      Seattle,WA 98101
                                                                                          (206) 624-5124
                  Case 14-12003-TWD        Doc 42      Filed 04/03/17    Ent. 04/03/17 07:59:43 Pg. 2 of 3
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    10                             IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE WESTERN DISTRICT OF WASHINGTON AT SEATTLE
    11

    12   In Re:                                                       IN CHAPTER 13 PROCEEDING
                                                                      NO. 14-12003
    13   TOM S HYDE,
                                                                      Proposed
    14                                                                ORDER DISMISSING CASE
                                             Debtor.
    15
             THIS MATTER having come before the Court on the Chapter 13 Trustee's Motion to Dismiss Case, and the
    16

    17   Court having reviewed and considered the motion, records and files in this case, it is

    18       ORDERED that this case is dismissed.
    19
                                                          / / /End of Order/ / /
    20

    21

    22
       Presented by:
       /s/K. Michael Fitzgerald
    23 K. Michael Fitzgerald, WSBA# 8115
       Chapter 13 Bankruptcy Trustee
    24
       600 University St. #2200
    25 Seattle,WA 98101
       (206) 624-5124
    26

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                                                                                        Chapter 13 Bankruptcy Trustee
CM160     ORDER DISMISSING CASE                                                           600 University St. #2200
jwa                                                                                          Seattle,WA 98101
                                                                                              (206) 624-5124
                  Case 14-12003-TWD         Doc 42      Filed 04/03/17       Ent. 04/03/17 07:59:43 Pg. 3 of 3
